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10                             UNITED STATES BANKRUPTCY COURT

11                                      DISTRICT OF OREGON

12   In re                                                            Case No. 19-30223-tmb11

13   Western Communications, Inc.                                     DEBTOR'S DISCLOSURE
                                                                      STATEMENT (MAY 22, 2019)
14                                  Debtor.

15

16   1.        INTRODUCTION
17                    On January 22, 2019 (the "Petition Date"), Western Communications, Inc.,
18   debtor and debtor-in-possession ("Debtor"), filed a voluntary petition for relief under
19   Chapter 11 of Title 11 of the United States Code (the "Bankruptcy Code"). On May 22, 2019
20   Debtor filed its Plan of Liquidation (the "Plan") with the Bankruptcy Court. A copy of the
21   Plan is attached hereto as Exhibit 1. Debtor is seeking acceptance of the Plan by Debtor's
22   creditors. A ballot has been enclosed with this Disclosure Statement for use in voting on the
23   Plan. Debtor believes confirmation of the Plan is in the best interest of Debtor's creditors and
24   asks those parties entitled to vote to vote to accept the Plan.
25

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Page 1 of 21 -     DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   2.      PURPOSE OF THE DISCLOSURE STATEMENT

 2                  The purpose of this Disclosure Statement is to provide you with adequate

 3   information to enable you to make an informed judgment concerning whether to vote for or

 4   against the Plan. Please review this Disclosure Statement and the Plan and, if appropriate,

 5   consult with counsel about the Plan and its impact on your legal rights before voting on the

 6   Plan. Capitalized terms used but not defined in this Disclosure Statement shall have the

 7   meanings assigned to such terms in the Plan or the Bankruptcy Code.

 8                  This Disclosure Statement has been approved by Order of the Bankruptcy

 9   Court as containing adequate information to permit parties in interest to make an informed

10   judgment as to whether to vote to accept or reject the Plan. The Bankruptcy Court's approval

11   of this Disclosure Statement, however, does not constitute a recommendation by the

12   Bankruptcy Court either for or against the Plan.

13                  This Disclosure Statement is submitted in accordance with Section 1125 of

14   the Bankruptcy Code and Bankruptcy Rule 3016. The description of the Plan contained in

15   this Disclosure Statement is intended as a summary only and is qualified in its entirety by

16   reference to the Plan itself. This Disclosure Statement does not attempt to summarize or

17   discuss each and every section of the Plan. If any inconsistency exists between the Plan and

18   this Disclosure Statement, the terms of the Plan are controlling. This Disclosure Statement

19   may not be relied on for any purpose other than to determine how to vote on the Plan.

20                  This Disclosure Statement has been prepared by Debtor in good faith based

21   upon information available to Debtor and information contained in Debtor's books and

22   records. The information concerning the Plan has not been subject to a verified audit. The

23   statements contained in this Disclosure Statement are made as of the date hereof unless

24   another time is specified herein, and the delivery of this Disclosure Statement shall not imply

25   there has been no change in the facts set forth herein since the date of this Disclosure

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Page 2 of 21 -   DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   Statement and the date the material relied on in preparation of this Disclosure Statement was

 2   compiled.

 3                   Nothing contained herein shall constitute an admission of any fact or liability

 4   by any party, or be admissible in any proceeding involving Debtor or any other party.

 5   3.      BRIEF EXPLANATION OF CHAPTER 11

 6                   Chapter 11 of the Bankruptcy Code is the principal reorganization provision

 7   of the Bankruptcy Code. A debtor may use Chapter 11 to facilitate an orderly liquidation of

 8   the debtor's assets and an efficient distribution to the debtor's creditors.

 9                   The formulation and confirmation of a plan is the principal purpose of a

10   Chapter 11 case. A plan sets forth a proposed method of compensating the debtor's creditors.

11   Chapter 11 does not require all holders of claims to vote in favor of the plan for the

12   Bankruptcy Court to confirm the plan. However, the Bankruptcy Court must find that the

13   plan meets a number of statutory tests before it may confirm, or approve, the plan. These

14   tests are designed to protect the interests of holders of claims who do not vote to accept the

15   plan, but who will nonetheless be bound by the plan's provisions if it is confirmed by the

16   Bankruptcy Court.

17   4.      BRIEF SUMMARY OF THE PLAN

18                   A copy of the Plan is attached as Exhibit 1. All descriptions of the Plan in

19   this Disclosure Statement are qualified in their entirety by reference to the Plan. A more

20   detailed summary of the Plan is set forth later in this Disclosure Statement.

21                   The Plan is a liquidating plan. Debtor is in the process of marketing its assets

22   for sale and anticipates selling substantially all of its assets. and distributing or retaining the

23   proceeds from such sales, pursuant to a series of sales to be approved by the Bankruptcy

24   Court after appropriate notice and hearing. To the extent Debtor's assets have not been sold,

25   and the proceeds distributed, pursuant to Bankruptcy Court order prior to the Effective Date,

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Page 3 of 21 -   DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                       Case 19-30223-tmb11                Doc 140             Filed 05/22/19
 1   Debtor will liquidate the remaining assets and distribute the net sales proceeds in accordance

 2   with the Plan.

 3                    The Plan provides that all Allowed Secured Claims and Allowed

 4   Administrative Expense Claims and Priority Tax Claims will be paid in full on the Effective

 5   Date. The Effective Date will be the first day after all conditions to effectiveness have been

 6   satisfied or waived, as set forth in the Plan.

 7                    Holders of Allowed General Unsecured Claims will receive on account of

 8   such claims one or more pro rata distributions of available cash when and if sufficient funds

 9   are available to make meaningful distributions.

10                    All Equity Interests will be cancelled as of the Effective Date.

11                    Creditors holding Allowed Secured Claims and Property Tax Claims will be

12   paid from the proceeds of the Collateral securing their Claims.

13   5.      DEBTOR

14                    Debtor is a privately-held Oregon corporation headquartered in Bend, Oregon.

15   Debtor is a newspaper, niche publishing, printing, and digital media company consisting of

16   seven community newspapers serving markets across Oregon and northern California. These

17   papers include The Bulletin in Bend, Oregon; the Redmond (OR) Spokesman; The Union

18   Democrat in Sonora, California; The Observer in La Grande, Oregon; the Baker City (OR)

19   Herald; the Curry Coastal Pilot in Brookings, Oregon; and the Del Norte Triplicate in Crescent

20   City, California. Debtor also owns six commercial buildings used in connection with its

21   newspaper business.

22   6.      SIGNIFICANT POST-PETITION EVENTS

23           6.1      Retention of Professionals. Pursuant to a series of applications and orders,

24   Debtor obtained authorization from the Bankruptcy Court to employ various professionals in

25   the Case. These professionals include, among others, (a) Tonkon Torp LLP as attorneys for

26   Debtor; (b) The Mountain Group as consultant; (c) Grove, Mueller & Swank, P.C. as

Page 4 of 21 -     DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                        Case 19-30223-tmb11              Doc 140             Filed 05/22/19
 1   accountants; (d) Dirks, Van Essen, Murray & April ("DVE") as sale agent to assist with the

 2   sale of the newspapers; and (e) various real estate brokers to assist with the sale of the

 3   commercial buildings.

 4           6.2     Post-Petition Operations; Use of Cash Collateral. Pending the sale of its

 5   assets, Debtor has continued to operate in the ordinary course, using the cash collateral of

 6   Debtor's secured lender, Sandton Credit Solution Master Fund III, LP ("Sandton"), pursuant

 7   to a series of cash collateral orders approved by the Bankruptcy Court.

 8           6.3     Sale of Union Democrat Property. Debtor caused its wholly-owned

 9   subsidiary, The Union Democrat, which is not in bankruptcy, to complete the sale of

10   commercial property located in Sonora, California for $1,050,000. Substantially all of the

11   net proceeds were distributed to Sandton to pay down the debt owing by Debtor to Sandton.

12           6.4     Marketing of Newspapers

13                   Debtor, with the assistance of DVE, continues to market for sale each of its

14   newspaper businesses. Among other marketing efforts, Debtor and DVE identified and

15   contacted 48 potential strategic purchasers. Thirty-one parties expressed an indication of

16   interest, with 29 signing non-disclosure agreements. These parties were provided access to

17   Debtor's virtual data room, and five have toured Debtor's facilities and engaged in follow-up

18   discussions and negotiations. Debtor and DVE are in the process of negotiating deal terms

19   with a number of these potential purchasers. Debtor anticipates seeking Bankruptcy Court

20   approval in June 2019 to complete one or more sales of its newspaper businesses in June or

21   July 2019. Any sale, and distribution of proceeds, will occur only after appropriate notice

22   and Bankruptcy Court approval.

23           6.5     Marketing of Commercial Buildings. Debtor, with the assistance of its

24   various real estate brokers, continues to market for sale each of its commercial properties.

25   Debtor anticipates completing the sales of its commercial properties by October 2019. Any

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Page 5 of 21 -     DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   sale, and distribution of proceeds, will only occur after appropriate notice and Bankruptcy

 2   Court approval.

 3   7.      CLASSIFICATION AND TREATMENT OF CLAIMS UNDER THE PLAN

 4                    Below is a general summary of the Plan's classification and treatment of

 5   Claims. It is intended as a general summary only and is qualified in its entirety by reference

 6   to the Plan.

 7           7.1      Unclassified Claims. Administrative Expense Claims and Priority Tax Claims

 8   are not classified under the Plan.

 9                    An Administrative Expense Claim is any Claim entitled to the priority

10   afforded by Section 507(a)(2) of the Bankruptcy Code. Under the Plan, each holder of an

11   Administrative Expense Claim will receive payment of such Claim in full in Cash on the

12   later of (a) the Effective Date or (b) the date on which such Claim becomes an Allowed

13   Claim, except to the extent that the holder of any such Administrative Expense Claim has

14   agreed to a different treatment of such Claim; provided, however, that Administrative

15   Expense Claims representing obligations incurred in the ordinary course of business by

16   Debtor during the Chapter 11 Case shall be paid by Debtor in the ordinary course of business

17   and in accordance with any terms and conditions of the particular transaction, and any

18   agreements relating thereto. Debtor estimates that Administrative Expenses, exclusive of

19   commissions, may approach $1,000,000.

20                    A Priority Tax Claim is a claim of a governmental unit of the kind entitled to

21   priority under Section 507(a)(8) of the Bankruptcy Code. Under the Plan, each holder of a

22   Priority Tax Claim will receive payment of such Claim in full in Cash on the later of (a) the

23   Effective Date, or (b) the date on which such Claim becomes an Allowed Claim. The IRS

24   has filed a claim for $1,275,148.82, to be offset by $414,776.64 for backup withholding paid

25   to the IRS on Debtor's behalf by Debtor's credit card processor, First Data.

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Page 6 of 21 -      DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1           7.2     Classified Claims. The Plan divides all Claims (other than the unclassified

 2   Claims addressed above) into the following Classes.

 3                   7.2.1    Class 1 (Sandton). Class 1 consists of the Allowed Secured Claim of

 4   Sandton. Sandton has a first priority security interest in all or substantially all of Debtor's

 5   assets. Sandton will retain its security interest in its collateral with the same priority that it

 6   had as of the Petition Date.

 7                   Sandton was owed approximately $19 million dollars as of the Petition Date.

 8   Since the Petition Date, Sandton has received $924,469.32 from the sale of the warehouse

 9   located in Sonora, California.

10                   As and when Sandton's collateral is sold, the net proceeds from such sales will

11   be utilized to pay down Sandton's Allowed Secured Claim, until such time as Sandton's

12   Allowed Secured Claim has been paid in full, including interest accruing on such Claim at

13   the rate of 4.5% per annum from and after the Petition Date (Sandton's non-default contract

14   rate of interest).

15                   Class 1 is not impaired by the Plan and, accordingly, Sandton is not entitled to

16   vote for or against the Plan.

17                   7.2.2    Class 2 (Bend Secured Parties). Class 2 consists of the Allowed

18   Secured Claims of Elizabeth C. McCool, Gregory F. Cushman, Margaret Cushman, Mallory

19   McCool, Mary Jean Chandler, Anna Stevens, John Costa, and Jeffrey Cushman (collectively,

20   the "Bend Secured Parties"). Each Bend Secured Party has appointed Elizabeth C. McCool

21   as its agent with respect to its Class 2 Claim. Each of the Bend Secured Parties has a secured

22   lien on Debtor's real property located at 1777 SW Chandler Avenue, Bend, Oregon 97702

23   (the "Bend Property"), which lien is junior to Sandton's lien on such property. Each Bend

24   Secured Party will retain its security interest in the Bend Property with the same priority that

25   it had as of the Petition Date.

26

Page 7 of 21 -     DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1                  As of the Petition Date, Debtor owed the Bend Secured Parties a combined

 2   amount of $258,004.60 in connection with prepetition loans made by the Bend Secured

 3   Parties to Debtor secured by the Bend Property.

 4                  If any net proceeds remain from the sale of the Bend Property, including after

 5   payment of Sandton's Allowed Secured Claim and any Property Tax Claims secured by the

 6   Bend Property, Debtor will pay such remaining net sales proceeds to Elizabeth C. McCool,

 7   as agent for the Bend Secured Parties, until such time as the Class 2 Claim has been paid in

 8   full, including any interest accruing on such Class 2 Claim from and after the Petition Date at

 9   the non-default contract rate of interest.

10                  Class 2 is not impaired by the Plan and, accordingly, Class 2 is not entitled to

11   vote for or against the Plan.

12                  7.2.3   Class 3 (Property Tax Claims). Class 3 consists of all Property Tax

13   Claims. A Property Tax Claim means the Secured Claim of any governmental unit for

14   ad valorem property taxes or similar impositions that are secured by statutory liens on any of

15   Debtor's real or personal property. Debtor estimates Property Tax Claims to total

16   approximately $900,000.

17                  Each holder of a Property Tax Claim will retain its security interest in its

18   Collateral with the same priority to which it is entitled by law. Each holder of a Class 3

19   Claim shall be paid the Allowed Amount of its Claim in full upon any sale of the property

20   securing its Class 3 Claim.

21                  Class 3 is not impaired by the Plan, and any holder of an Allowed Class 3

22   Claim is not entitled to vote for or against the Plan.

23                  7.2.4   Class 4 (General Unsecured Claims). Class 4 consists of all Allowed

24   General Unsecured Claims. A General Unsecured Claim is any Unsecured Claim not

25   otherwise treated or classified under the Plan. At this time, Debtor estimates that General

26   Unsecured Claims will range from approximately $6,000,000 to $8,000,000.

Page 8 of 21 -   DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19
 1                  The Plan provides that on each Distribution Date each holder of a General

 2   Unsecured Claim will receive a Pro Rata Distribution of Available Cash with respect to its

 3   General Unsecured Claim.

 4                  Debtor is still analyzing General Unsecured Claims and cannot at this time

 5   accurately estimate the total amount of General Unsecured Claims, or the expected recovery

 6   on General Unsecured Claims.

 7                  Class 4 is impaired by the Plan. Accordingly, each holder of an Allowed

 8   Class 4 Claim is entitled to vote for or against the Plan.

 9                  7.2.5   Class 5 (SERP Claims). Class 5 consists of the Allowed Unsecured

10   Claims for payments owing under Debtor's Supplemental Executive Retirement Plan

11   ("SERP"). Debtor estimates that Class 5 Claims will total approximately $3,000,000.

12   Pursuant to the terms of the SERP, SERP claims are subordinate to the claims of Debtor's

13   general unsecured creditors. Accordingly all Class 5 Claims are subordinate to the payment

14   in full of all other Allowed Claims, including Class 4 General Unsecured Claims.

15                  If all such other Allowed Claims have been paid in full, including all Class 4

16   General Unsecured Claims, then each holder of an Allowed Class 5 Claim will receive a

17   pro rata distribution on account of such Claims as and when cash is available for distribution.

18   Debtor does not anticipate that any cash will be available to distribute on account of Class 5

19   Claims. Class 5 is impaired by the Plan. Accordingly, each holder of an Allowed Class 5

20   Claim is entitled to vote for or against the Plan.

21                  7.2.6   Class 6 (Equity Interests and Claims Arising Therefrom). Class 6

22   consists of all Equity Interests and any and all Claims arising from or relating to such Equity

23   Interests. The Plan provides that on the Effective Date, all Equity Interests will be deemed

24   cancelled and that no holder of an Equity Interest will receive or retain on account of such

25   Equity Interest any distributions, money, or other consideration under the Plan.

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Page 9 of 21 -   DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19
 1                  Class 6 is impaired by the Plan. Because all Equity Interests will be

 2   cancelled, and holders of Equity Interests will not receive or retain on account of their Equity

 3   Interests any distributions, money, or other consideration under the Plan, Class 6 is deemed

 4   to have rejected the Plan and, accordingly, Class 6 is not entitled to vote for or against the

 5   Plan.

 6   8.      DISPUTED CLAIMS; OBJECTIONS TO CLAIMS

 7           8.1    Disputed Claims; Objections to Claims. The Plan provides that only Claims

 8   that are Allowed Claims are entitled to distributions under this Plan. No Cash or other

 9   property shall be distributed under the Plan on account of any Disputed Claim, or a portion of

10   any such Claim, unless and until such Disputed Claim becomes an Allowed Claim. Debtor

11   reserves the right to contest and object to any Claims and previously Scheduled Amounts.

12   Unless otherwise ordered by the Bankruptcy Court, all objections to Claims and Scheduled

13   Amounts (other than Administrative Expense Claims) shall be Filed and served upon counsel

14   for Debtor and the holder of the Claim objected to on or before the later of (a) 45 days after

15   the Effective Date or (b) 60 days after the date (if any) on which a Proof of Claim is Filed in

16   respect of a Rejection Claim. The last day for filing objections to Administrative Expense

17   Claims shall be set pursuant to a further order of the Bankruptcy Court. All Disputed Claims

18   shall be resolved by the Bankruptcy Court.

19           8.2    Subsequent Allowance of Disputed Claims. The holder of a Disputed Claim

20   that becomes an Allowed Claim in full or in part subsequent to the Effective Date shall

21   receive Cash distributions (including any make-up distributions) on the next applicable

22   distribution date following the allowance of such Disputed Claim.

23   9.      MEANS OF IMPLEMENTATION OF THE PLAN

24           9.1    Funding Plan Obligations. The Plan provides that Debtor will fund its Plan

25   obligations and its ongoing expenses and liabilities from Cash on hand as of the Effective

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Page 10 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                       Case 19-30223-tmb11              Doc 140             Filed 05/22/19
 1   Date, and Cash available to Debtor from and after the Effective Date from, among other

 2   things, liquidation of any assets remaining as of the Effective Date.

 3            9.2   Continuation of Debtor; Winding Up Affairs; Dissolution. The Plan provides

 4   that from and after the Effective Date, Debtor shall continue in existence solely for purposes

 5   of (a) administering this Plan and winding up its affairs as expeditiously as reasonably

 6   possible; (b) liquidating, by conversion to Cash or other methods, the Assets as expeditiously

 7   as reasonably possible; (c) enforcing and prosecuting all claims and causes of action,

 8   including Avoidance Actions, and other rights, interests, and privileges respecting the Assets,

 9   and compromising and settling such claims, causes of action, rights, interests, and privileges;

10   (d) reconciling Claims and resolving Disputed Claims; (e) filing appropriate tax returns;

11   (f) winding up its 401(k) Plan, and paying all fees and expenses associated therewith; and

12   (g) taking such other actions as may be necessary or appropriate in connection with any of

13   the above or to otherwise effectuate this Plan. The Plan further provides that Debtor may

14   incur and pay any and all reasonable and necessary expenses in performing the foregoing

15   functions, and may hire agents and professionals to assist with the foregoing functions. The

16   Plan provides that on the Final Distribution Date, Debtor shall be deemed dissolved under

17   applicable law without the need for any corporate or other actions, consents, or approvals

18   other than filing articles of dissolution with the Oregon Secretary of State. The Plan provides

19   that on or promptly following the Final Distribution Date, Debtor may, without the need for

20   any further actions, consents, or approvals, dispose of or destroy any and all records

21   maintained by Debtor.

22            9.3   Post-Effective Date Management; Plan Agent

23                  9.3.1    Plan Agent. The Plan provides that from and after the Effective Date,

24   Debtor will be managed solely by a Plan Agent. The Plan Agent will be The Mountain

25   Group.

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Page 11 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                      Case 19-30223-tmb11               Doc 140             Filed 05/22/19
 1                  9.3.2   Duties and Rights of Plan Agent. The Plan provides the Plan Agent

 2   with very broad and exclusive authority to manage the affairs of Debtor until the Plan has

 3   been fully effectuated. In general, the Plan Agent will take over the duties being performed

 4   pre-Effective Date by Debtor. In addition to all rights and powers given to the Plan Agent

 5   under the Plan, the Plan Agent will have all of the rights and powers given to directors and

 6   officers under Oregon law and will have all rights and powers of a trustee appointed pursuant

 7   to Section 1104 of the Bankruptcy Code.

 8                  9.3.3   Compensation of Plan Agent. The Plan provides that the Plan Agent

 9   will receive, as compensation for its services under the Plan, reasonable fees based upon its

10   customary hourly rates in effect when services are performed, plus reimbursement of

11   reasonable out-of-pocket costs and expenses incurred in connection with performing such

12   services.

13                  9.3.4   Fees and Expenses of Agents and Professionals. The Plan provides

14   that the Plan Agent will, from the Assets, pay the reasonable fees and expenses of all

15   professional persons and agents employed by the Plan Agent in connection with this Plan, as

16   well as the reasonable post-Confirmation fees and expenses of any attorney employed by the

17   Committee in connection with the Plan.

18          9.4     Distributions by Plan Agent. The Plan includes some administrative

19   provisions governing Distributions. Those provisions are summarized below.

20                  9.4.1   Form of Payments. Distributions to be made under the Plan will be

21   made by check drawn on a domestic bank or by wire transfer from a domestic bank, at the

22   sole election of the Plan Agent.

23                  9.4.2   Delivery of Distributions. Except as otherwise agreed to by the Plan

24   Agent in writing, Distributions to be made under the Plan will be delivered by regular mail,

25   postage prepaid, in an envelope addressed as directed in a written request served on the Plan

26   Agent, but if no such request is made, to the address shown in Debtor's Schedules, as they

Page 12 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                      Case 19-30223-tmb11              Doc 140             Filed 05/22/19
 1   may from time to time be amended in accordance with Bankruptcy Rule 1009, or, if a

 2   different address is stated in a proof of claim duly filed with the Court, to such address stated

 3   in the proof of claim.

 4                   9.4.3    Unclaimed Property. During the Claiming Period applicable to any

 5   particular Distribution made by or on behalf of Debtor pursuant to the Plan, Unclaimed

 6   Property with respect to such Distribution shall be distributed to the holders of Allowed

 7   Claims entitled thereto upon presentment to the Plan Agent of satisfactory proof of

 8   entitlement. After expiration of the Claiming Period (subject to the right of the Plan Agent,

 9   in its sole discretion, to waive the provisions of this sentence, in whole or in part):

10   (a) holders of Allowed Claims previously entitled to such Unclaimed Property shall no

11   longer be entitled thereto; (b) such Claims shall be deemed disallowed for all purposes; and

12   (c) the then-remaining Cash constituting Unclaimed Property with respect to such

13   Distribution shall be redesignated as and become Available Cash (but without impairing the

14   right of Debtor to use such redesignated funds to satisfy the costs of administering this Plan).

15                   9.4.4    Time Bar to Cash Payments. Checks issued in respect of Allowed

16   Claims shall be null and void if not negotiated within 90 days after the date of issuance

17   thereof. Any requests for reissuance of any check shall be made to the Plan Agent prior to

18   the expiration of such 90-day period. After such date (subject to the right of the Plan Agent,

19   in its sole discretion, to waive the provisions of this sentence, in whole or in part), (a) the

20   holder of any such Claim who has failed to make a timely request for reissuance of such a

21   voided check shall not be entitled to any other or further Distribution under this Plan on

22   account of such voided check, and (b) the Unclaimed Property held on account of such

23   voided check shall be redesignated as and become Available Cash (but without impairing the

24   right of Debtor to use such funds to satisfy the costs of administering this Plan).

25                   9.4.5    Minimum Distributions. The Plan provides that if any Distribution to

26   be made to any holder of an Allowed Claim under the Plan (including any Pro Rata

Page 13 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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                                                    503.221.1440
                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19
 1   Distribution) is $10 or less, then, notwithstanding any contrary provision in the Plan, the Plan

 2   Agent shall not be obligated to make such Distribution to such holder, and any Distribution

 3   so withheld will become unrestricted Available Cash.

 4   10.    ASSETS AND LIABILITIES

 5          10.1    Assets. Debtor estimates the total value of its assets in the range of

 6   approximately $25,000,000 to $30,000,000. Debtor's assets consist primarily of commercial

 7   buildings and related real property, with a total estimated fair market value of approximately

 8   $20,000,000 (see Exhibit 2 attached hereto for the listing prices on Debtor's various real

 9   estate), and various personal property associated with Debtor's newspaper businesses.

10   Debtor estimates the going concern value of its newspaper businesses at $5,000,000 to

11   $10,000,000.

12          10.2    Liabilities. Debtor estimates its total liabilities at approximately $30,000,000,

13   exclusive of Administrative Expenses.

14   11.    EXECUTORY CONTRACTS

15          11.1    General Rejection of Executory Contracts. The Plan provides that, except as

16   otherwise specifically provided in the Plan or in the Confirmation Order, effective as of the

17   Effective Date, all executory contracts of Debtor not previously rejected by operation of law

18   or by Court order (excluding only those that are assumed pursuant to Court order entered

19   prior to the Confirmation Date and those that are the subject of a motion to assume filed prior

20   to the Confirmation Date) will be deemed to be automatically rejected by Debtor as of the

21   Confirmation Date.

22          11.2    Claims for Rejection Damages. The Plan provides that a Claim for damages

23   arising by reason of the rejection of an executory contract shall be classified and treated as a

24   General Unsecured Claim; provided, however, that any such Claim shall be deemed

25   disallowed, barred forever, and not enforceable against Debtor or any property of the Estate

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Page 14 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   unless a proof of claim therefor is filed with the Court and served on Debtor within 30 days

 2   after the Effective Date.

 3   12.    VOTING PROCEDURES

 4          12.1    Ballots and Voting Deadline. A ballot has been enclosed with this Disclosure

 5   Statement for use in voting on the Plan. After carefully reviewing the Plan and this

 6   Disclosure Statement, and if you are entitled to vote on the Plan (see below), please indicate

 7   your acceptance or rejection of the Plan by voting for or against the Plan on the enclosed

 8   ballot as directed below.

 9                  To be counted for voting purposes, ballots must be received no later than

10   __________ __.m. Pacific Time, on ______________, 2019 by Debtor at the following

11   address:
                                   Tonkon Torp LLP
12                                 Attention: Spencer Fisher
                                   888 SW Fifth Ave., Suite 1600
13                                 Portland, OR 97204-2099
14                  Any ballots received after ______ __.m. Pacific Time on ______________,

15   2019 will not be included in any calculation to determine whether the parties entitled to vote

16   on the Plan have voted to accept or reject the Plan.

17                  A holder of a Claim impaired by the Plan is permitted to vote on the Plan. If a

18   proof of claim has been filed with respect to such impaired Claim, then the vote will be based

19   on the amount of the proof of claim. If no proof of claim has been filed, then the vote will be

20   based on the amount scheduled by Debtor in its Schedules. Holders of disputed Claims who

21   have settled their dispute with Debtor are entitled to vote the settled amount of their Claim.

22   The Bankruptcy Code provides that such votes will be counted unless the Claim has been

23   disputed, disallowed, disqualified, or suspended prior to computation of the vote on the Plan.

24   The Claim to which an objection has been filed is not allowed to vote unless and until the

25   Bankruptcy Court rules on the objection. The Bankruptcy Code provides that the Bankruptcy

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Page 15 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   Court may, if requested to do so by the holder of such Claim, estimate or temporarily allow a

 2   Disputed Claim for purposes of voting on the Plan.

 3                  If you do not receive a ballot, or if a ballot is damaged or lost, please contact:

 4                                  Tonkon Torp LLP
                                    Attention: Spencer Fisher
 5                                  888 SW Fifth Ave., Suite 1600
                                    Portland, OR 97204-2099
 6                                  Telephone Number: (503) 802-2167
 7                  When a ballot is signed and returned without further instruction regarding

 8   acceptance or rejection of the Plan, the signed ballot shall be counted as a vote accepting the

 9   Plan. When a ballot is returned indicating acceptance or rejection of the Plan but is unsigned,

10   the unsigned ballot will not be included in any calculation to determine whether parties

11   entitled to vote on the Plan have voted to accept or reject the Plan. When a ballot is returned

12   without indicating the amount of the Claim, the amount shall be as set forth on Debtor's

13   Schedules or any Proof of Claim filed with respect to such Claim.

14          12.2    Parties Entitled to Vote. Pursuant to Section 1126 of the Bankruptcy Code,

15   any holder of an Allowed Claim that is in an impaired Class under the Plan, and whose Class

16   is not deemed to reject the Plan, is entitled to vote. A Class is "impaired" unless the legal,

17   equitable, and contractual rights of the holders of claims in that Class are left unaltered by the

18   Plan or if the Plan reinstates the Claims held by Members of such Class by (a) curing any

19   defaults; (b) reinstating the maturity of such claim; (c) compensating the holder of such claim

20   for damages that result from the reasonable reliance on any contractual provision of law that

21   allows acceleration of such claim; and (d) otherwise leaving unaltered any legal, equitable, or

22   contractual right of which the Claim entitles the holder of such Claim. Because of their

23   favorable treatment, Classes that are not impaired are conclusively presumed to accept the

24   Plan. Accordingly, it is not necessary to solicit votes from the holders of Claims in Classes

25   that are not impaired.

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Page 16 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1                   Classes of Claims or interests that will not receive or retain any money or

 2   property under a Plan on account of such Claims or interests are deemed, as a matter of law

 3   under Section 1126(g) of the Bankruptcy Code, to have rejected the Plan and are likewise not

 4   entitled to vote on the Plan.

 5                   Classes 1, 2, and 3 are not impaired under the Plan and are deemed to have

 6   accepted the Plan.

 7                   Classes 4 and 5 are impaired under the Plan and are entitled to vote to accept

 8   or reject the Plan.

 9                   Class 6 will not receive or retain any money or property under the Plan on

10   account of such Claims or interests and are deemed to have rejected the Plan.

11           12.3    Votes Required for Class Acceptance of the Plan. For a Class of Claims to

12   accept the Plan, Section 1126 of the Bankruptcy Code requires acceptance by Creditors that

13   hold at least two-thirds in dollar amount and a majority in number of the Allowed Claims of

14   such Class, in both cases counting only those claims actually voting to accept or reject the

15   Plan. The holders of Claims who fail to vote are not counted as either accepting or rejecting

16   the Plan. If the Plan is confirmed, the Plan will be binding with respect to all holders of

17   Claims in each Class, including Classes and members of Classes that did not vote or that

18   voted to reject the Plan.

19   13.     CONFIRMATION OF THE PLAN

20           13.1    Confirmation Hearing. The Bankruptcy Court has scheduled a hearing on

21   confirmation of the Plan on _____________, 2019 at __________ Pacific Time. The hearing

22   will be held at the United States Bankruptcy Court for the District of Oregon, Courtroom

23   No. _____, 1050 SW Sixth Avenue, Portland, Oregon 97204, before the Honorable Trish M.

24   Brown, United States Bankruptcy Judge. At that hearing, the Bankruptcy Court will consider

25   whether the Plan satisfies the various requirements of the Bankruptcy Code, including

26   whether it is feasible and whether it is in the best interests of creditors of Debtor. Debtor will

Page 17 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   submit a report to the Bankruptcy Court at that time concerning the votes for acceptance or

 2   rejection of the Plan by the parties entitled to vote thereon.

 3                  Section 1128(b) of the Bankruptcy Code provides that any party in interest

 4   may object to confirmation of the Plan. Any objections to confirmation of the Plan must be

 5   made in writing and filed with the Bankruptcy Court and received by counsel for Debtor no

 6   later than ____________, 2019, by ______ __.m. Pacific Time. Unless an objection to

 7   confirmation is timely filed and received, it may not be considered by the Bankruptcy Court.

 8          13.2    Requirements of Confirmation/Liquidation Analysis. At the hearing on

 9   confirmation, the Bankruptcy Court will determine whether the provisions of Section 1129 of

10   the Bankruptcy Code have been satisfied. If all the provisions of Section 1129 are met, the

11   Bankruptcy Court may enter an order confirming the Plan. Debtor believes the Plan satisfies

12   all the requirements of Chapter 11 of the Bankruptcy Code, that it has complied or will have

13   complied with all the requirements of Chapter 11, and that the Plan has been proposed and is

14   made in good faith.

15          Among other requirements for confirmation, to confirm the Plan the Bankruptcy

16   Court must determine that the Plan meets the requirements of Section 1129(a)(7) of the

17   Bankruptcy Code; that is, that the Plan is in the best interests of each holder of a Claim in an

18   impaired Class that has not voted to accept the Plan. Accordingly, if an impaired Class does

19   not unanimously accept the Plan, the "best interests" test requires that the Bankruptcy Court

20   find that the Plan provides to each holder of a Claim in such impaired Class a recovery on

21   account of the holder's Claim that has a value at least equal to the value of the distribution

22   each such holder would receive if Debtor were liquidated under Chapter 7 of the Bankruptcy

23   Code. Debtor believes that a liquidation under Chapter 7 of the Bankruptcy Code would

24   result in no distribution to general unsecured creditors.

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Page 18 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1                  The Plan is a liquidating Plan. A liquidation analysis is attached hereto as

 2   Exhibit 2. The liquidation analysis includes both an orderly liquidation analysis under the

 3   Plan, as well as a Chapter 7 liquidation analysis.

 4                  Underlying the liquidation analysis are projections and assumptions that are

 5   inherently subject to significant uncertainties and contingencies. The liquidation analysis is

 6   based on assumptions that may change. Accordingly, there can be no assurance that the

 7   projected values reflected in the liquidation analysis will be realized, and actual results could

 8   vary materially from those shown on the liquidation analysis.

 9                  For numerous reasons, Debtor believes a Chapter 7 liquidation would result in

10   significantly lower distributions to creditors. As discussed above, Debtor's assets consist

11   primarily in commercial buildings, and in the newspapers as going concern businesses. In a

12   Chapter 7 liquidation, Debtor believes the commercial buildings would be sold for 10% to

13   15% less than if sold pursuant to an orderly liquidation. Further, in a Chapter 7 liquidation,

14   the newspapers would have no going concern value, and the expenses and carrying costs

15   associated with the sales of the underlying assets (e.g., equipment, inventory, etc.) could

16   equal or exceed the value of such assets. Further, under Section 326(a) of the Bankruptcy

17   Code, a Chapter 7 trustee is entitled to compensation based on a percentage of all amounts

18   disbursed or turned over to Creditors. Debtor believes this compensation would exceed the

19   amount that will be charged by the Plan Agent.

20                  Furthermore, conversion to Chapter 7 is likely to delay the wind-down of the

21   estate and the distribution of monies to Creditors. This is because in a Chapter 7 case,

22   additional time will be required for a Chapter 7 trustee to become familiar with Debtor's

23   financial affairs and assets. For these reasons, among others, Debtor believes that conversion

24   to a case under Chapter 7 would result in (a) additional costs being borne by the estate above

25   those the estate would incur under the Plan, (b) lower distributions being received by

26   Creditors, and (c) significant delays in distributions to Creditors.

Page 19 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   14.    MISCELLANEOUS PROVISIONS

 2          In addition to the provisions discussed above, the Plan contains a number of

 3   administrative and miscellaneous provisions. Those provisions are not restated or

 4   summarized in this Disclosure Statement. Please review the Plan carefully.

 5   15.    TAX CONSEQUENCES TO DEBTOR OF THE PLAN

 6                  Although Debtor has not concluded its tax analysis, confirmation of the Plan

 7   is not expected to generate substantial tax consequences to Debtor.

 8                  CIRCULAR 230 DISCLAIMER: TO ENSURE COMPLIANCE WITH

 9   REQUIREMENTS IMPOSED BY THE INTERNAL REVENUE SERVICE, HOLDERS OF

10   CLAIMS ARE HEREBY NOTIFIED THAT (A) ANY DISCUSSION OF FEDERAL TAX

11   ISSUES IN THIS DISCLOSURE STATEMENT (INCLUDING ANY ATTACHMENTS) IS

12   NOT INTENDED OR WRITTEN TO BE USED OR RELIED UPON, AND CANNOT BE

13   USED OR RELIED UPON, FOR THE PURPOSE OF (1) AVOIDING TAX-RELATED

14   PENALTIES UNDER THE INTERNAL REVENUE CODE OF 1986, AS AMENDED; OR

15   (2) PROMOTING, MARKETING, OR RECOMMENDING TO ANOTHER PARTY ANY

16   TRANSACTION OR TAX MATTER(S) ADDRESSED HEREIN; AND (B) ANY

17   DISCUSSION OF FEDERAL TAX ISSUES IN THIS DISCLOSURE STATEMENT

18   (INCLUDING ANY ATTACHMENTS) ARE WRITTEN IN CONNECTION WITH

19   DEBTOR SOLICITING ACCEPTANCES OF THE PLAN THROUGH THIS

20   DISCLOSURE STATEMENT.

21                  YOU ARE URGED TO CONSULT YOUR OWN TAX ADVISOR ABOUT

22   ANY FEDERAL, STATE, LOCAL, AND APPLICABLE FOREIGN, INCOME AND

23   OTHER TAX CONSEQUENCES OF THE PLAN.

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Page 20 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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 1   16.       RECOMMENDATION AND CONCLUSION

 2                   Please read this Disclosure Statement and the Plan carefully. After reviewing

 3   all the information and making an informed decision, please vote by using the enclosed

 4   ballot.

 5                   Debtor strongly urges you to vote in support of the Plan.

 6                   DATED this 22nd day of May, 2019.

 7                                         WESTERN COMMUNICATIONS, INC.
 8

 9                                         By /s/ Elizabeth C. McCool
                                              Elizabeth C. McCool, Chairwoman
10

11   Presented by:
12   TONKON TORP LLP
13

14   By /s/ Michael W. Fletcher
        Albert N. Kennedy, OSB No. 821429
15      Michael W. Fletcher, OSB No. 010448
        Of Attorneys for Debtor
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Page 21 of 21 - DEBTOR’S DISCLOSURE STATEMENT (MAY 22, 2019)

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     888 SW Fifth Avenue, Suite 1600
 6   Portland, OR 97204-2099

 7           Attorneys for Debtor

 8

 9

10                             UNITED STATES BANKRUPTCY COURT

11                                     DISTRICT OF OREGON

12   In re                                                            Case No. 19-30223-tmb11

13   Western Communications, Inc.                                     DEBTOR'S PLAN OF LIQUIDATION
                                                                      (MAY 22, 2019)
14                                  Debtor.

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DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                                                                                                EXHIBIT 1
                        Case 19-30223-tmb11               Doc 140             Filed 05/22/19      1 of 30
 1                                                TABLE OF CONTENTS
 2                                                                                                                                 Page
 3   SECTION 1          DEFINITIONS...................................................................................................1
           1.1.          Defined Terms ................................................................................................1
 4         1.2.          Other Terms ....................................................................................................8
           1.3.          Interpretation; Application of Definitions; and Rules of Construction ..........8
 5
     SECTION 2          TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS AND
 6                      PRIORITY TAX CLAIMS ................................................................................9
                2.1.     Administrative Expense Claims ......................................................................9
 7              2.2.     Priority Tax Claims .........................................................................................9

 8   SECTION 3          CLASSIFICATION AND TREATMENT OF CLAIMS AND
                        EQUITY INTERESTS.......................................................................................9
 9              3.1.     Classification...................................................................................................9
                3.2.     Treatment ......................................................................................................10
10
     SECTION 4          DISPUTED CLAIMS; OBJECTIONS TO CLAIMS......................................12
11         4.1.          Disputed Claims; Objections to Claims ........................................................12
           4.2.          Subsequent Allowance of Disputed Claims ..................................................13
12
     SECTION 5          MEANS FOR IMPLEMENTATION OF THE PLAN....................................13
13         5.1.          Funding Plan Obligations and Ongoing Expenses........................................13
           5.2.          Continuation of Debtor; Winding Up Affairs; Dissolution ..........................13
14         5.3.          Post-Effective Date Management; Plan Agent .............................................14
           5.4.          Distributions by Plan Agent ..........................................................................17
15
     SECTION 6          TREATMENT OF EXECUTORY CONTRACTS .........................................18
16         6.1.          General Rejection of Executory Contracts ...................................................18
           6.2.          Claims for Rejection Damages .....................................................................18
17
     SECTION 7          EFFECT OF PLAN CONFIRMATION ..........................................................19
18         7.1.          Effect of Confirmation ..................................................................................19
           7.2.          Revesting; Operation of Business .................................................................19
19
     SECTION 8          RETENTION OF JURISDICTION .................................................................19
20         8.1.          Jurisdiction of the Bankruptcy Court ............................................................19
           8.2.          Failure of Bankruptcy Court to Exercise Jurisdiction...................................20
21
     SECTION 9          ADMINISTRATIVE PROVISIONS ...............................................................20
22         9.1.          Bankruptcy Fees............................................................................................20
           9.2.          Modification of the Plan ...............................................................................21
23         9.3.          Revocation or Withdrawal of Plan ................................................................21

24   SECTION 10 MISCELLANEOUS PROVISIONS................................................................22
           10.1. Retention of Causes of Action ......................................................................22
25         10.2. Utility Deposits .............................................................................................22
           10.3. Governing Law .............................................................................................23
26         10.4. Withholding and Reporting Requirements ...................................................23
           10.5. Section 1146(c) Exemption...........................................................................23
Page i of ii - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                                                                                                                            EXHIBIT 1
                           Case 19-30223-tmb11                       Doc 140             Filed 05/22/19                       2 of 30
 1         10.6.    Severability ...................................................................................................24
           10.7.    Binding Effect ...............................................................................................24
 2         10.8.    Recordable Order ..........................................................................................24
           10.9.    Plan Controls.................................................................................................24
 3         10.10.   Effectuating Documents and Further Transactions.......................................24
           10.11.   Saturday, Sunday or Legal Holiday ..............................................................24
 4         10.12.   Timing of Distributions.................................................................................25
           10.13.   Final Order ....................................................................................................25
 5         10.14.   Event of Default; Remedy ............................................................................25
           10.15.   Amendments to Claims .................................................................................25
 6         10.16.   Setoff, Recoupment and Defenses ................................................................26
           10.17.   No Retiree Benefits .......................................................................................26
 7         10.18.   Computation of Time Periods .......................................................................26
           10.19.   Severability ...................................................................................................26
 8         10.20.   Exhibits .........................................................................................................27

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Page ii of ii - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                    Case 19-30223-tmb11                        Doc 140             Filed 05/22/19                         3 of 30
 1           Western Communications, Inc., debtor and debtor-in-possession (the "Debtor"),

 2   proposes the following Plan of Liquidation pursuant to the provisions of Chapter 11 of the

 3   Bankruptcy Code.

 4           A Disclosure Statement has been provided with this Plan to assist you in

 5   understanding the Plan and making an informed decision whether to vote for or against the

 6   Plan.

 7                                              SECTION 1
 8                                           DEFINITIONS
 9           1.1.    Defined Terms. Definitions of certain terms used in the Plan are set forth

10   below. Other terms are defined in the text of the Plan or in the text of the Disclosure
11   Statement. In either case, when a defined term is used, the first letter of each word in the
12   defined term is capitalized. Terms used and not defined in the Plan or Disclosure
13   Statement shall have the meanings given in the Bankruptcy Code or Bankruptcy Rules, or
14   otherwise as the context requires. The meanings of all terms shall be equally applicable
15   to both the singular and plural, and masculine and feminine, forms of the terms defined.
16   The words "herein," "hereof," "hereto," "hereunder," and others of similar import, refer to
17   the Plan as a whole and not to any particular article, section, subsection, or clause
18   contained in the Plan. Captions and headings to articles, sections, and exhibits are
19   inserted for convenience of reference only and are not intended to be part of or to affect

20   the interpretation of the Plan. The rules of construction set forth in Section 102 of the

21   Bankruptcy Code shall apply. In computing any period of time prescribed or allowed by

22   the Plan, the provisions of Bankruptcy Rule 9006(a) shall apply.

23                   1.1.1.   Administrative Expense Claim means a Claim that is entitled to

24   priority under Sections 503(b) and 507(a)(2) of the Bankruptcy Code.

25                   1.1.2.   Allowed Amount means: (a) with reference to any Claim (other than

26   an Administrative Expense Claim): (i) if the holder thereof has not filed a proof of claim

Page 1 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                      Case 19-30223-tmb11               Doc 140             Filed 05/22/19     4 of 30
 1   with the Court within the applicable period of limitation fixed pursuant to Bankruptcy

 2   Rule 3003(c)(3), the amount of the Claim that is listed in Debtor's schedules, as they may

 3   from time to time be amended in accordance with Bankruptcy Rule 1009, as not disputed,

 4   contingent, or unliquidated; or (ii) if the holder thereof has filed a proof of claim with the

 5   Court within the applicable period of limitation fixed pursuant to Bankruptcy

 6   Rule 3003(c)(3), (a) the amount stated in such proof of claim, if no objection to such proof of

 7   claim has been interposed within any applicable period of limitation fixed by this Plan or a

 8   Final Order; (b) such amount as shall be fixed by Final Order if an objection has been timely

 9   interposed; (c) with reference to an Administrative Expense Claim that requires Court

10   approval as precondition to payment, such amount as shall be fixed by Final Order; (d) with

11   reference to any Claim arising from the recovery of property under Sections 550 or 553 of

12   the Bankruptcy Code, or from the denial or avoidance of an interest in property of the Estate

13   (i) if, within 30 days after the judgment for the recovery of money or property, or after the

14   judgment that denies or avoids any such interest, becomes a Final Order, the holder thereof

15   fully satisfies such judgment, (a) the amount so paid to the Estate pursuant to such judgment

16   (whether or not such holder files a proof of claim with the Court respecting such Claim)

17   and/or (b) such additional amount as shall be fixed by a Final Order, but only if a proof of

18   claim therefor is filed with the Court and served on Debtor within 30 days after such

19   judgment becomes a Final Order; or (ii) if, in response to a demand for payment and before

20   an adversary proceeding or other legal action is commenced with regard to such matters, the

21   holder thereof complies with such a demand, the amount so paid to the Estate pursuant to

22   such demand (whether or not such holder files a proof of claim with the Court respecting

23   such Claim); or (e) any Claim allowed under or pursuant to the terms of this Plan; provided,

24   however, that the Allowed Amount shall not include interest, penalties, or other charges

25   accruing on a Claim after the Petition Date except as specifically provided for in this Plan or

26   in the Confirmation Order.

Page 2 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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 1                       1.1.3.   Allowed Claim means a Claim for which an Allowed Amount has

 2   been determined.

 3                       1.1.4.   Assets at any particular time means, collectively, all right, title, and

 4   interest of the Estate in and to the property described in Section 541 of the Bankruptcy Code,

 5   and includes all Avoidance Actions.

 6                       1.1.5.   Available Cash at any particular time means all Cash held by or for

 7   Debtor that the Plan Agent, in its sole discretion, determines is then available for distribution.

 8                       1.1.6.   Avoidance Action means any claim or cause of action of the Estate

 9   that arises under Chapter 5 of the Bankruptcy Code.

10                       1.1.7.   Ballot means a ballot submitted by a holder of a Claim to accept or

11   reject this Plan.
12                       1.1.8.   Bankruptcy Code means Title 11 of the United States Code, and any
13   amendments thereto, applicable to this Chapter 11 case as in effect on the Confirmation Date.
14                       1.1.9.   Bankruptcy Rules means the Federal Rules of Bankruptcy
15   Procedure.
16                       1.1.10. Bend Property means Debtor's real property located at 1777 SW
17   Chandler Avenue, Bend, Oregon 97702.
18                       1.1.11. Case or Chapter 11 Case means the case under Chapter 11 of the
19   Bankruptcy Code with respect to Debtor pending in the District of Oregon, administered as

20   In re Western Communications, Inc., Case No. 19-30223-tmb11.

21                       1.1.12. Cash means cash, cash equivalents, and other readily marketable

22   direct obligations of the United States of America.

23                       1.1.13. Claim means (a) any right to payment from Debtor arising before the

24   Effective Date, whether or not such right is reduced to judgment, liquidated, unliquidated,

25   fixed, contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or

26   unsecured; or (b) any right to an equitable remedy against Debtor arising before the Effective

Page 3 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                          Case 19-30223-tmb11               Doc 140             Filed 05/22/19     6 of 30
 1   Date for breach of performance if such breach gives rise to a right of payment from Debtor,

 2   whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,

 3   matured, unmatured, disputed, undisputed, secured, or unsecured.

 4                    1.1.14. Claiming Period means, with respect to any particular Distribution

 5   made by Debtor pursuant to this Plan, a period of 90 days following such Distribution.

 6                    1.1.15. Class means a category of Claims or Equity Interests that is

 7   substantially similar to each other, as classified pursuant to the Plan.

 8                    1.1.16. Collateral means, with respect to any Secured Claim, the property, or

 9   interest in property, of the Estate that secures such Claim.

10                    1.1.17. Confirmation Date means the date of entry of the Confirmation

11   Order.
12                    1.1.18. Confirmation Order means the Court order confirming the Plan
13   pursuant to Section 1129 of the Bankruptcy Code.
14                    1.1.19. Court or Bankruptcy Court means (a) the United States District
15   Court for the District of Oregon having jurisdiction over this Chapter 11 case and, to the
16   extent of any reference made pursuant to 28 U.S.C. § 157, the United States Bankruptcy
17   Court for the District of Oregon and any court having competent jurisdiction to hear appeals
18   therefrom; and (b) any other court having competent jurisdiction with respect to matters
19   described in this Plan.

20                    1.1.20. Creditor means a holder of a Claim.

21                    1.1.21. Debtor means Western Communications, Inc., as debtor and debtor-

22   in-possession.

23                    1.1.22. Disallowed Amount means, with respect to a particular Disputed

24   Claim, that amount which is equal to the difference, if any, between the Face Amount of such

25   Claim and the Allowed Amount thereof.

26

Page 4 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19     7 of 30
 1                   1.1.23. Disclosure Statement means Debtor's disclosure statement pertaining

 2   to the Plan, as amended, modified, supplemented, or restated from time to time.

 3                   1.1.24. Disputed Amount means, with respect to a particular Disputed

 4   Claim, that amount which is equal to the difference, if any, between the Face Amount of such

 5   Claim and the amount of the Claim that Debtor concedes.

 6                   1.1.25. Disputed Claim means any Claim for which an Allowed Amount has

 7   not yet been determined and with respect to which Debtor or the Committee has an objection

 8   (whether or not a written objection has been filed with the Court) or to which an objection

 9   has been filed with the Court.

10                   1.1.26. Distribution means a payment of Cash by Debtor under this Plan to a

11   holder of an Allowed Claim.
12                   1.1.27. Distribution Date means any date on which the Plan Agent makes a
13   distribution to holders of Class 5 Claims under the Plan.
14                   1.1.28. Effective Date means the first day of the first month after the
15   Confirmation Date on which (a) all conditions precedent to effectiveness specified in the
16   Plan have been satisfied or waived and (b) no stay of the Confirmation Order is in effect.
17                   1.1.29. Equity Interest means any capital stock or other ownership interest in
18   Debtor, however denominated and whether or not transferable, and any option, warrant, or
19   right to purchase, sell, or subscribe for an ownership interest in or other equity security of

20   Debtor.

21                   1.1.30. Estate means the estate of Debtor created by Section 541 of the

22   Bankruptcy Code.

23                   1.1.31. Face Amount means (a) with reference to any Claim (other than an

24   Administrative Expense Claim) (i) if the holder thereof has not filed a proof of claim with the

25   Court within the applicable period of limitation fixed pursuant to Bankruptcy

26   Rule 3003(c)(3), the amount of the Claim that is listed in Debtor's schedules, as they may

Page 5 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11              Doc 140             Filed 05/22/19     8 of 30
 1   from time to time be amended in accordance with Bankruptcy Rule 1009, as not disputed,

 2   contingent, or unliquidated; or (ii) if the holder thereof has filed a proof of claim with the

 3   Court within the applicable period of limitation fixed pursuant to Bankruptcy

 4   Rule 3003(c)(3), the amount stated in such proof of claim; or (b) with reference to an

 5   Administrative Expense Claim of a professional for which an application for allowance of

 6   compensation or reimbursement of expenses is filed within such time as may be fixed by the

 7   Court, the net amount to which the applicant would be entitled if the application were to be

 8   granted in full.

 9                      1.1.32. Filed means Filed with the Bankruptcy Court in the Chapter 11 Case.

10                      1.1.33. Final Distribution Date means the date the Plan Agent determines, in
11   its good faith discretion, that no further payments or distributions are likely to be required by
12   Debtor under this Plan.
13                      1.1.34. Final Order means a judgment, order, or other decree issued and
14   entered by the Court so long as no stay thereof is in effect, or a stipulation or other agreement
15   entered into which is intended by the parties thereto to have the same effect with like finality.
16                      1.1.35. General Unsecured Claim means any Unsecured Claim not
17   otherwise treated or classified under this Plan.
18                      1.1.36. Petition Date means January 22, 2019.
19                      1.1.37. Plan means this Chapter 11 Plan and all exhibits and schedules

20   hereto, which are incorporated by reference as amended, modified, restated, or supplemented

21   from time to time.

22                      1.1.38. Plan Agent means The Mountain Group or any successor designated

23   by the Court.

24                      1.1.39. Priority Tax Claim means an Allowed Unsecured Claim entitled to

25   priority under Section 507(a)(8) of the Bankruptcy Code.

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Page 6 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                         Case 19-30223-tmb11             Doc 140             Filed 05/22/19     9 of 30
 1                   1.1.40. Pro Rata at any particular time means, with respect to any Allowed

 2   Claim in a Class, the same proportion that the Allowed Amount of such Claim bears to the

 3   aggregate of (a) the Allowed Amount of all Claims in such Class, plus (b) the Face Amounts

 4   of all Disputed Claims in such Class, as reduced from time to time as and to the extent the

 5   Disallowed Amounts of such Claims are determined.

 6                   1.1.41. Property Tax Claim means the Secured Claim of any governmental

 7   unit for ad valorem property taxes or similar impositions that are secured by statutory liens

 8   on any of Debtor's real or personal property.

 9                   1.1.42. Rejection Claim means a Claim arising from the rejection of an

10   unexpired executory contract pursuant to this Plan or a Final Order.
11                   1.1.43. Sandton means Sandton Credit Solution Master Fund III, LP.
12                   1.1.44. Scheduled Amounts means the amount of Claims stated in the
13   Schedules.
14                   1.1.45. Schedules means the Schedules of Assets and Liabilities Filed by
15   Debtor pursuant to Section 521 of the Bankruptcy Code, as amended, modified, restated, or
16   supplemented from time to time.
17                   1.1.46. Secured Claim means a Claim to the extent such Claim constitutes a
18   secured claim under Sections 506(a) or 1111(b) of the Bankruptcy Code.
19                   1.1.47. SERP means Debtor's Supplemental Executive Retirement Plan.

20                   1.1.48. Unclaimed Property at any particular time means the Cash, exclusive

21   of any interest earned thereon, held by or for Debtor that is unclaimed by a Creditor

22   following a Distribution made by or for Debtor pursuant to the Plan (including property

23   attributable to checks that have been returned as undeliverable without a proper forwarding

24   address, checks that have not been cashed, and checks that were not mailed or delivered

25   because of the absence of a proper address to which to mail or deliver such property).

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Page 7 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                      Case 19-30223-tmb11              Doc 140             Filed 05/22/19      10 of 30
 1                    1.1.49. Unsecured Claim means a Claim that is not an Administrative

 2   Expense Claim, a Priority Tax Claim, an Other Priority Claim, a Property Tax Claim, or a

 3   Secured Claim.

 4          1.2.      Other Terms. Terms used and not defined in this Plan that are defined in

 5   the Bankruptcy Code or in the Bankruptcy Rules shall have the meanings ascribed to

 6   them in the Bankruptcy Code or in the Bankruptcy Rules, as applicable.

 7          1.3.      Interpretation; Application of Definitions; and Rules of Construction.

 8   Wherever from the context it appears appropriate, each term stated in either the singular

 9   or the plural shall include both the singular and the plural, and pronouns stated in the

10   masculine, feminine, or neuter gender shall include the masculine, feminine, and neuter.

11   For purposes of the Plan (a) any reference in the Plan to a contract, instrument, release,

12   indenture, or other agreement or document being in a particular form or on particular

13   terms and conditions means that such document shall be substantially in such form or

14   substantially on such terms and conditions; (b) any reference in the Plan to an existing

15   document or exhibit filed or to be filed means such document or exhibit as may have

16   been or may be amended, modified, or supplemented; and (c) unless otherwise specified,

17   all references in the Plan to Sections and Exhibits are references to Sections and Exhibits

18   of or to the Plan. The words "herein," "hereof," "hereto," "hereunder," "hereunto," and

19   other words of similar meaning refer to this Plan as a whole and not to any particular

20   section, subsection, or clause contained in this Plan. The rules of construction contained

21   in Section 102 of the Bankruptcy Code shall apply to the construction of this Plan. The

22   headings in this Plan are for convenience of reference only and shall not limit or

23   otherwise affect the provisions of this Plan. Unless otherwise indicated herein, all

24   references to dollars means United States dollars.

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Page 8 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11              Doc 140             Filed 05/22/19     11 of 30
 1                                              SECTION 2
 2                      TREATMENT OF ADMINISTRATIVE EXPENSE
 3                            CLAIMS AND PRIORITY TAX CLAIMS
 4          2.1.     Administrative Expense Claims. Each holder of an Administrative

 5   Expense Claim shall receive payment of such Claim in full in Cash on the later of (a) the

 6   Effective Date, or (b) the date on which such Claim becomes an Allowed Claim, unless

 7   such holder agrees to a different treatment of such Claim (including, without limitation,

 8   any different treatment that may be provided for in any documentation, statute, or

 9   regulation governing such Claim); provided, however, that Administrative Expense

10   Claims representing obligations incurred in the ordinary course of business by Debtor

11   during the Chapter 11 Case shall be paid by Debtor in the ordinary course of business and

12   in accordance with any terms and conditions of the particular transaction, and any

13   agreements relating thereto.

14          2.2.     Priority Tax Claims. Each holder of a Priority Tax Claim shall receive

15   payment of such Claim in full in Cash on the later of (a) the Effective Date, or (b) the
16   date on which such Claim becomes an Allowed Claim. The Priority Tax Claim of the
17   Internal Revenue Service will be reduced by the offset of the backup withholding tax paid
18   in 2017 and 2018 in the total amount of $414,776.64.
19                                              SECTION 3
20    CLASSIFICATION AND TREATMENT OF CLAIMS AND EQUITY INTERESTS
21          3.1.     Classification. All Claims (other than Administrative Expense Claims

22   and Priority Tax Claims) and all Equity Interests are placed in the following Classes for

23   all purposes. A Claim is classified in a particular Class only to the extent the Claim falls

24   within the description of that Class and is classified in another Class only to the extent

25   that any remainder of the Claim falls within the description of such other Class. A Claim

26   is in a particular Class only to the extent the Claim is an Allowed Claim in that Class and

Page 9 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                      Case 19-30223-tmb11               Doc 140             Filed 05/22/19     12 of 30
 1   has not been paid or otherwise satisfied prior to the Effective Date. Class 1 and Class 3

 2   are unimpaired by the Plan. All other Classes are impaired by the Plan.

 3                   3.1.1.   Class 1 (Sandton) consists of the Allowed Secured Claim of

 4   Sandton.

 5                   3.1.2.   Class 2 (Bend Secured Parties) consists of the Allowed Secured

 6   Claims of Elizabeth C. McCool, Gregory F. Cushman, Margaret Cushman, Mallory McCool,

 7   Mary Jean Chandler, Anna Stevens, John Costa, and Jeffrey Cushman (collectively, the

 8   "Bend Secured Parties"). Each Bend Secured Party has appointed Elizabeth C. McCool as its

 9   agent with respect to its Class 2 Claim.

10                   3.1.3.   Class 3 (Property Tax Claims) consists of all Allowed Property Tax

11   Claims. Each Property Tax Claim shall be deemed placed in a separate subclass for purposes
12   of this Plan.
13                   3.1.4.   Class 4 (General Unsecured Claims) consists of all Allowed General
14   Unsecured Claims.
15                   3.1.5.   Class 5 (SERP Claims) consists of the Allowed Unsecured Claims
16   for any amounts owing under or with respect to Debtor's SERP.
17                   3.1.6.   Class 6 (Equity Interests and Claims Arising Therefrom) consists of
18   all Equity Interests and any and all Claims arising from or relating to such Equity Interests.
19           3.2.    Treatment. The Classes of Claims and Equity Interests shall receive the

20   treatment described herein, which treatment shall be in full and complete satisfaction,

21   settlement, release, and discharge of, and in exchange for, all such Claims and Equity

22   Interests.

23                   3.2.1.   Class 1 (Sandton). The Class 1 Claim is secured by a perfected

24   security interest in substantially all of Debtor's personal property and in certain real property

25   of Debtor. Class 1 will retain its interests in its Collateral with the same priority it had as of

26   the Petition Date. As and when Sandton's Collateral is sold, the net proceeds from such sales

Page 10 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19     13 of 30
 1   will be utilized to pay down Sandton's Allowed Secured Claim until such time as Sandton's

 2   Allowed Secured Claim has been paid in full, including interest accruing on such Claim at

 3   the rate of 4.5% per annum from and after the Petition Date.

 4                    3.2.2.   Class 2 (Bend Secured Parties). The Class 2 Claims of the Bend

 5   Secured Parties are secured by junior deeds of trust on the Bend Property. Each Bend

 6   Secured Party will retain its security interest in the Bend Property with the same priority that

 7   it had as of the Petition Date. If any net proceeds remain from the sale of the Bend Property

 8   after payment of Sandton's Allowed Secured Claim and the Property Tax Claim of Deschutes

 9   County, Debtor will pay such remaining net sales proceeds to Elizabeth C. McCool, as agent

10   for the Bend Secured Parties, until such time as the Class 2 Claim has been paid in full,

11   including any interest accruing on such Class 2 Claim from and after the Petition Date at the

12   non-default contract rate of interest.

13                    3.2.3.   Class 3 (Property Tax Claims). Each holder of a Class 3 Claim will

14   retain its security interest in its Collateral with the same priority to which it is entitled by law.
15   Each holder of a Class 3 Claim shall be paid the Allowed Amount of its Claim in full upon
16   any sale of the property securing its Class 3 Claim, but in no event later than any applicable
17   time limits required by the Bankruptcy Code.
18                    3.2.4.   Class 4 (General Unsecured Claims). Subject to the minimum
19   Distribution provision set forth in this Plan, on each Distribution Date Debtor shall make

20   Pro Rata distributions of Available Cash to the holders of Allowed Claims in Class 4. A final

21   Distribution shall be made to the holders of Allowed Claims in Class 4 promptly following

22   the later to occur of (a) the date on which all Assets have been reduced to Cash or abandoned

23   by Debtor, (b) the date on which all Disputed Claims have been withdrawn or resolved by

24   Final Order, or (c) the date on which all required tax returns have been filed; provided,

25   however, that in no event shall Debtor be obligated to make such a Distribution if the Plan

26   Agent, in its sole discretion, determines that there is insufficient Available Cash to make a

Page 11 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11                Doc 140             Filed 05/22/19     14 of 30
 1   cost efficient Distribution, taking into account the size of the Distribution to be made and the

 2   number of recipients of such Distribution, in which event such Available Cash shall, at the

 3   sole discretion of the Plan Agent, either be paid into the Court and disposed of under

 4   Chapter 129 of Title 28 of the United States Code or donated to one or more

 5   Section 501(c)(3) organizations, which shall be selected by the Plan Agent in its sole

 6   discretion. In no event shall the foregoing impair the right of Debtor to use such excess

 7   funds to satisfy the costs of administering this Plan.

 8                      3.2.5.   Class 5 (SERP Claims). The Class 5 Claims are junior and

 9   subordinate to the Class 4 General Unsecured Claims and will be paid only if all Class 4

10   Claims have been paid in full. If all Allowed Class 4 Claims have been paid in full, then

11   each holder of an Allowed Class 5 Claim will receive Pro Rata distributions of Available

12   Cash.

13                      3.2.6.   Class 6 (Equity Interests and Claims Arising Therefrom). On the

14   Effective Date, all Equity Interests shall be deemed cancelled. No holder of a Class 6 Claim
15   or Equity Interest shall receive or retain on account of such Class 6 Claim or Equity Interest
16   any distributions, money, or other consideration on account of such Claim or Equity Interest
17   under this Plan.
18                                                SECTION 4
19                         DISPUTED CLAIMS; OBJECTIONS TO CLAIMS
20           4.1.       Disputed Claims; Objections to Claims. Only Claims that are Allowed

21   Claims shall be entitled to distributions under this Plan. No Cash or other property shall

22   be distributed under this Plan on account of any Disputed Claim, or a portion of any such

23   Claim, unless and until such Disputed Claim becomes an Allowed Claim. Debtor

24   reserves the right to contest and object to any Claims and previously Scheduled Amounts,

25   including, without limitation, those Claims and Scheduled Amounts that are specifically

26   referenced herein; are not listed in the Schedules; are listed therein as disputed,

Page 12 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                         Case 19-30223-tmb11              Doc 140             Filed 05/22/19     15 of 30
 1   contingent, and/or unliquidated in amount; or are listed therein at a different amount than

 2   Debtor currently believes is validly due and owing. Unless otherwise ordered by the

 3   Bankruptcy Court, all objections to Claims and Scheduled Amounts (other than

 4   Administrative Expense Claims) shall be Filed and served upon the holder of the Claim

 5   objected to on or before the later of (a) 45 days after the Effective Date or (b) 60 days

 6   after the date (if any) on which a Proof of Claim is Filed in respect of a Rejection Claim.

 7   The last day for filing objections to Administrative Expense Claims shall be set pursuant

 8   to a further order of the Bankruptcy Court. All Disputed Claims shall be resolved by the

 9   Bankruptcy Court.

10          4.2.     Subsequent Allowance of Disputed Claims. The holder of a Disputed

11   Claim that becomes an Allowed Claim in full or in part subsequent to the Effective Date
12   shall receive Cash distributions (including any make-up distributions) on the next
13   applicable distribution date following the allowance of such Disputed Claim.
14                                              SECTION 5
15                      MEANS FOR IMPLEMENTATION OF THE PLAN
16          5.1.     Funding Plan Obligations and Ongoing Expenses. Debtor will fund its
17   Plan obligations and its ongoing expenses and liabilities from Cash on hand as of the
18   Effective Date and Cash available to Debtor from and after the Effective Date from,
19   among other things, the liquidation of Assets.

20          5.2.     Continuation of Debtor; Winding Up Affairs; Dissolution. From and

21   after the Effective Date, Debtor shall continue in existence solely for purposes of

22   (a) administering this Plan and winding up its affairs as expeditiously as reasonably

23   possible; (b) liquidating, by conversion to Cash or other methods, the Assets as

24   expeditiously as reasonably possible; (c) enforcing and prosecuting all claims and causes

25   of action, including Avoidance Actions, and other rights, interests, and privileges

26   respecting the Assets, and compromising and settling such claims, causes of action,

Page 13 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                      Case 19-30223-tmb11               Doc 140             Filed 05/22/19     16 of 30
 1   rights, interests, and privileges; (d) reconciling Claims and resolving Disputed Claims;

 2   (e) filing appropriate tax returns; and (f) taking such other actions as may be necessary or

 3   appropriate in connection with any of the above or to otherwise effectuate this Plan.

 4   Debtor may incur and pay any and all reasonable and necessary expenses in performing

 5   the foregoing functions, and may hire agents and professionals to assist with the

 6   foregoing functions. On the Final Distribution Date, Debtor shall be deemed dissolved

 7   under applicable law without the need for any corporate or other actions, consents, or

 8   approvals other than filing articles of dissolution with the Oregon Secretary of State. In

 9   addition, on or promptly following the Final Distribution Date, Debtor may, without the

10   need for any further actions, consents, or approvals, dispose of or destroy any and all

11   records maintained by Debtor.

12          5.3.     Post-Effective Date Management; Plan Agent

13                   5.3.1.   Plan Agent. From and after the Effective Date, Debtor shall be
14   managed solely by the Plan Agent. The Plan Agent will take over the duties performed pre-
15   Effective Date by Debtor. The initial Plan Agent shall be The Mountain Group. The
16   Mountain Group shall continue to serve as the Plan Agent until the earlier of (a) the date on
17   which the Plan has been fully effectuated and Debtor's affairs have been fully wound up or
18   (b) the date on which The Mountain Group resigns or is unable to serve as Plan Agent.
19                   5.3.2.   Duties and Rights of Plan Agent. The Plan Agent shall use its best

20   efforts to cause Debtor to fulfill all of its duties and obligations under this Plan. Without

21   limiting the rights set forth in Section 5.3.1. above, the Plan Agent shall have broad and

22   exclusive power to manage Debtor. The Plan Agent shall have full power, authority, and

23   responsibility to take any and all such actions as the Plan Agent, in its good faith discretion,

24   deems necessary or appropriate to cause Debtor to fulfill its duties and obligations under this

25   Plan. In addition to all rights and powers given to the Plan Agent under this Plan, the Plan

26   Agent shall have all of the rights and powers given to directors and officers under Oregon

Page 14 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11              Doc 140             Filed 05/22/19     17 of 30
 1   law, and shall have all rights and powers of a trustee appointed pursuant to Section 1104 of

 2   the Bankruptcy Code. Without limiting any rights the Plan Agent may have pursuant to law

 3   or this Plan, the Plan Agent is empowered, on behalf of Debtor, to (a) sell, hold, manage,

 4   administer, and distribute the Assets in accordance with this Plan or any Orders entered by

 5   the Court, and take such actions as may be necessary or appropriate to effect Distributions to

 6   be made by Debtor under this Plan or any Orders entered by the Court; (b) wind up any

 7   ESOP or 401(k) Plan and pay all fees and expenses associated therewith; (c) establish bank

 8   accounts; (d) engage and pay professionals, including attorneys, accountants, actuaries,

 9   appraisers, brokers, and others, to assist Debtor in fulfilling its obligations under this Plan;

10   (e) object to Claims and resolve Disputed Claims; (f) terminate all benefit plans; (g) initiate

11   and pursue all claims and causes of action retained by Debtor under this Plan (including any

12   Avoidance Action), and compromise and settle such claims and causes of action; (h) obtain

13   and pay for directors' and officers' liability insurance in such amounts and with such carriers

14   as determined by the Plan Agent in its good faith discretion; (i) obtain and pay for liability

15   insurance policies, including polices providing errors and omissions coverage (including

16   "tail" coverage) to the Plan Agent and any agents employed by the Plan Agent or Debtor;

17   (j) exercise, post-Confirmation, any post-Confirmation duties or obligations imposed on

18   Debtor pursuant to any agreements entered into by Debtor in connection with the Case or any

19   Orders entered by this Court, including any orders approving settlements with Debtor's

20   lenders; and (k) exercise such other powers and take such other actions that the Plan Agent,

21   in its discretion, deems reasonably necessary or appropriate to effectuate this Plan or Orders

22   entered by this Court.

23                   5.3.3.   Compensation of Plan Agent. The Plan Agent shall receive, as

24   compensation for its services hereunder, reasonable fees based upon its customary hourly

25   rates in effect when services are performed, plus reimbursement of reasonable out-of-pocket

26   costs and expenses incurred in connection with performing such services. The fees, costs,

Page 15 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19     18 of 30
 1   and expenses of the Plan Agent shall be paid by on a monthly basis in arrears out of the

 2   Assets.

 3                   5.3.4.   Fees and Expenses of Agents and Professionals. From the Assets,

 4   the Plan Agent shall pay the reasonable fees and expenses of all professional persons and

 5   agents employed by the Plan Agent in connection with this Plan. Any such professional

 6   person or agent seeking a payment from the Plan Agent shall submit an invoice to the Plan

 7   Agent, which (absent an objection by the Plan Agent), the Plan Agent shall promptly pay.

 8   Any objection which cannot be resolved by the Plan Agent and the party seeking such

 9   payment shall be resolved by the Court.

10                   5.3.5.   Bond. Within 15 business days after the Confirmation Date, the Plan

11   Agent shall obtain a fiduciary bond (or a substitute bond for any successor Plan Agent),
12   evidence of which shall be filed with the Court and which shall remain in place until the
13   resignation or removal of the Plan Agent or until the final Distribution Date. The face
14   amount of the bond shall at all times be in an amount no less than 125% of the total amount
15   of Cash under the Plan Agent's control. The cost of such bond shall be paid out of the
16   Assets.
17                   5.3.6.   Standard of Care. The Plan Agent shall exercise the rights and
18   powers granted to it by this Plan in the same manner, and use the same degree of care and
19   skill in its exercise, as a prudent person would exercise and use under the circumstances in

20   the conduct of his or her own affairs, having due regard for the purposes of this Plan. The

21   Plan Agent shall not be liable or responsible for any misconduct or negligence of any

22   attorney, accountant, or other professional employed or selected by the Plan Agent. The Plan

23   Agent shall not be liable for any, and shall be discharged from all liability to, Debtor, all

24   Creditors, and all Equity Interest holders for any and all acts or omissions of the Plan Agent,

25   except for gross negligence or willful misconduct.

26

Page 16 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11              Doc 140             Filed 05/22/19     19 of 30
 1          5.4.     Distributions by Plan Agent

 2                   5.4.1.   Form of Payments. Distributions to be made under this Plan shall be

 3   made by check drawn on a domestic bank or by wire transfer from a domestic bank, at the

 4   sole election of the Plan Agent.

 5                   5.4.2.   Delivery of Distributions. Except as otherwise agreed to by the Plan

 6   Agent in writing, Distributions to be made pursuant to this Plan may be delivered by regular

 7   mail, postage prepaid, in an envelope addressed as directed in a written request served on the

 8   Plan Agent, but if no such request is made, to the address shown in Debtor's Schedules, as

 9   they may from time to time be amended in accordance with Bankruptcy Rule 1009, or, if a

10   different address is stated in a proof of claim duly filed with the Court, to such address stated

11   in the proof of claim.

12                   5.4.3.   Unclaimed Property. During the Claiming Period applicable to any

13   particular Distribution made pursuant to this Plan, Unclaimed Property with respect to such
14   Distribution shall be distributed to the holders of Allowed Claims entitled thereto upon
15   presentment to the Plan Agent of satisfactory proof of entitlement. After the expiration of the
16   Claiming Period (subject to the right of the Plan Agent, in its sole discretion, to waive the
17   provisions of this sentence, in whole or in part): (a) holders of Allowed Claims previously
18   entitled to such Unclaimed Property shall no longer be entitled thereto; (b) such Claims shall
19   be deemed disallowed for all purposes; and (c) the then-remaining Cash constituting

20   Unclaimed Property with respect to such Distribution shall be redesignated as, and become,

21   Available Cash (but without impairing the right of Debtor to use such redesignated funds to

22   satisfy the costs of administering this Plan).

23                   5.4.4.   Time Bar to Cash Payments. Checks issued in respect of Allowed

24   Claims shall be null and void if not negotiated within 90 days after the date of issuance

25   thereof. Any requests for reissuance of any check shall be made to the Plan Agent prior to

26   the expiration of such 90-day period. After such date (subject to the right of the Plan Agent,

Page 17 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19     20 of 30
 1   in its sole discretion, to waive the provisions of this sentence, in whole or in part), (a) the

 2   holder of any such Claim who has failed to make a timely request for reissuance of such a

 3   voided check shall not be entitled to any other or further Distribution under this Plan on

 4   account of such voided check and (b) the Unclaimed Property held on account of such voided

 5   check shall be redesignated as, and become, Available Cash (but without impairing the right

 6   of Debtor to use such funds to satisfy the costs of administering this Plan).

 7                    5.4.5.   Minimum Distributions. If any Distribution to be made to any

 8   holder of an Allowed Claim under this Plan (including any Pro Rata Distribution) is $10 or

 9   less, then, notwithstanding any contrary provision in this Plan, the Plan Agent shall not be

10   obligated to make such Distribution to such holder. Distributions withheld pursuant to this

11   section shall become unrestricted Available Cash (but without impairing the right of the Plan

12   Agent to use such funds to satisfy the costs of administering this Plan).

13                                               SECTION 6
14                        TREATMENT OF EXECUTORY CONTRACTS
15           6.1.    General Rejection of Executory Contracts. Except as otherwise

16   specifically provided in this Plan or in the Confirmation Order, effective as of the
17   Effective Date, all executory contracts of Debtor not previously rejected by operation of
18   law or by Court order (excluding only those that are assumed pursuant to Court order
19   entered prior to the Confirmation Date and those that are the subject of a motion to

20   assume filed prior to the Confirmation Date) shall be deemed to be automatically rejected

21   by Debtor as of the Confirmation Date. The Confirmation Order shall constitute a Court

22   order approving such rejections pursuant to the provisions of Sections 365 and 1123(b)(2)

23   of the Bankruptcy Code.

24           6.2.    Claims for Rejection Damages. A Claim for damages arising by reason

25   of the rejection of an executory contract shall be classified and treated as a Class 4 Claim;

26   provided, however, that any such Claim shall be deemed disallowed, barred forever, and

Page 18 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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 1   not enforceable against Debtor or any property of the Estate unless a proof of claim

 2   therefor is filed with the Court and served on Debtor within 30 days after the Effective

 3   Date.

 4                                                SECTION 7
 5                                EFFECT OF PLAN CONFIRMATION
 6           7.1.       Effect of Confirmation. The effect of confirmation shall be as set forth in

 7   Section 1141 of the Bankruptcy Code.

 8           7.2.       Revesting; Operation of Business. Except as otherwise expressly

 9   provided in this Plan, on the Effective Date all property and assets of the estate of Debtor

10   shall revest in Debtor, free and clear of all claims, liens, encumbrances, charges, and

11   other interests of Creditors arising on or before the Effective Date; and Debtor may

12   operate, from and after the Effective Date, free of any restrictions imposed by the

13   Bankruptcy Code or the Bankruptcy Court.

14                                                SECTION 8
15                                  RETENTION OF JURISDICTION
16           8.1.       Jurisdiction of the Bankruptcy Court. Notwithstanding entry of the

17   Confirmation Order, the Court shall retain jurisdiction of the Chapter 11 Case pursuant to
18   and for the purposes set forth in Sections 1127(b) and 1141-1146 of the Code to enforce
19   the provisions of this Plan and to ensure that the intent and purposes of this Plan are

20   carried out and given effect. Without limiting the preceding, the Court shall retain

21   jurisdiction to:

22                      8.1.1.   Classify the Claim or interest of any Creditor, reexamine Claims or

23   interests that have been allowed for voting purposes, and determine any objections that may

24   be filed to Claims or interests;

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Page 19 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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 1                   8.1.2.   Determine requests for payment of Claims entitled to priority under

 2   Section 507(a) of the Bankruptcy Code, including compensation and reimbursement of

 3   expenses in favor of professionals employed at the expense of the Estate;

 4                   8.1.3.   Avoid transfers or obligations to subordinate Claims under Chapter 5

 5   of the Bankruptcy Code;

 6                   8.1.4.   Approve the assumption, assignment, or rejection of an executory

 7   contract or unexpired lease pursuant to this Plan;

 8                   8.1.5.   Resolve controversies and disputes regarding the interpretation or

 9   enforcement of this Plan;

10                   8.1.6.   Implement the provisions of this Plan and enter orders in aid of

11   confirmation;

12                   8.1.7.   Approve any settlements entered into by the Plan Agent;

13                   8.1.8.   To the extent the Court has jurisdiction, adjudicate adversary

14   proceedings and contested matters pending or hereafter commenced in the Chapter 11 Case;

15   and

16                   8.1.9.   Enter a final decree closing the Chapter 11 Case.

17          8.2.     Failure of Bankruptcy Court to Exercise Jurisdiction. If the Bankruptcy

18   Court abstains from exercising, or declines to exercise, jurisdiction over any matter
19   arising under, arising in, or related to the Chapter 11 Case, this section shall not prohibit

20   or limit the exercise of jurisdiction by any other court having competent jurisdiction with

21   respect to such subject matter.

22                                               SECTION 9
23                                ADMINISTRATIVE PROVISIONS
24          9.1.     Bankruptcy Fees. Fees payable by Debtor under 28 U.S.C. § 1930, or to

25   the Clerk of the Bankruptcy Court, will be paid in full in Cash on the Effective Date.

26   After confirmation, Debtor shall continue to pay quarterly fees of the Office of the United

Page 20 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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 1   States Trustee, and shall file monthly disbursement reports with the Office of the United

 2   States Trustee and the Bankruptcy Court until this Case is closed by the Bankruptcy

 3   Court, dismissed, or converted. This requirement is subject to any amendments to

 4   28 U.S.C. § 1930(a)(6) that Congress makes retroactively applicable to confirmed

 5   Chapter 11 cases.

 6           9.2.    Modification of the Plan. Debtor may alter, amend, or modify the Plan

 7   pursuant to Section 1127 of the Bankruptcy Code and Bankruptcy Rule 3019 at any time

 8   prior to the time the Bankruptcy Court has signed the Confirmation Order. After such

 9   time, and prior to the substantial consummation of the Plan, Debtor may, so long as the

10   treatment of holders of Claims and interests under the Plan is not adversely affected,

11   institute proceedings in Bankruptcy Court to remedy any defect or omission or to

12   reconcile any inconsistencies in the Plan, Disclosure Statement, or Confirmation Order,

13   and any other matters as may be necessary to carry out the purposes and effects of the

14   Plan.

15           9.3.    Revocation or Withdrawal of Plan

16                   9.3.1.   Right to Revoke. Debtor reserves the right to revoke or withdraw
17   the Plan at any time prior to the Effective Date.
18                   9.3.2.   Effect of Withdrawal or Revocation. If Debtor revokes or withdraws
19   the Plan prior to the Effective Date, then the Plan shall be deemed null and void. In such

20   event, nothing contained herein shall be deemed to constitute a waiver or release of any

21   claims by or against Debtor, or to prejudice in any manner the rights of Debtor in any further

22   proceeding involving Debtor.

23                   9.3.3.   Nonconsensual Confirmation. Debtor may request that the

24   Bankruptcy Court confirm the Plan pursuant to Section 1129(b) of the Bankruptcy Code if

25   the requirements of all provisions of Section 1129(a) of the Bankruptcy Code, except

26   Subsection 1129(a)(8), are met.

Page 21 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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 1                    9.3.4.   Conditions of Effectiveness. The Effective Date will not occur and

 2   the Plan will not become effective unless and until each of the following conditions has been

 3   satisfied or waived by Debtor:

 4                             9.3.4.1. The Confirmation Date has occurred;

 5                             9.3.4.2. No stay of the Confirmation Order is in effect;

 6                             9.3.4.3. The sale of the Bend Property has closed; and

 7                             9.3.4.4. The sale of Debtor's newspaper operations has closed.

 8                    9.3.5.   Compromise of Controversies. Pursuant to Bankruptcy Rule 9019,

 9   and in consideration for the classification, distributions, and other benefits provided under the

10   Plan, the provisions of the Plan shall constitute a good faith compromise and settlement of all

11   Claims or controversies that are resolved pursuant to the Plan. The entry of the Confirmation

12   Order shall constitute the Court's approval of each of the compromises and settlements

13   provided for in the Plan, and the Court's findings shall constitute its determination that such

14   compromises and settlements are in the best interests of Debtor.

15                                              SECTION 10
16                                MISCELLANEOUS PROVISIONS
17           10.1.   Retention of Causes of Action. Debtor shall retain any and all claims and

18   causes of action whatsoever (whether known, unknown, liquidated, unliquidated, fixed,
19   contingent, matured, unmatured, disputed, or undisputed, and whether asserted or

20   assertable directly, indirectly, or derivatively, at law, in equity, or otherwise), including,

21   but not limited to, all Avoidance Actions. The Plan Agent shall have the discretion to

22   pursue or not to pursue any claims or causes of action belonging to the Estate.

23           10.2.   Utility Deposits. All utilities holding a utility deposit obtained as a result

24   of this Bankruptcy Case shall immediately after the Effective Date return or refund such

25   utility deposit to Debtor. At the sole option of Debtor, Debtor may apply any such utility

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Page 22 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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 1   deposit that has not been refunded to Debtor in satisfaction of any payments due or to

 2   become due from Debtor to a utility holding such a utility deposit.

 3          10.3.    Governing Law. Except to the extent the Bankruptcy Code, the

 4   Bankruptcy Rules, or other federal laws are applicable, the laws of the State of Oregon

 5   shall govern the construction and implementation of the Plan, and all rights and

 6   obligations arising under the Plan.

 7          10.4.    Withholding and Reporting Requirements. In connection with the Plan

 8   and all instruments issued in connection therewith and distributions thereon, Debtor shall

 9   comply with all withholding, reporting, certification, and information requirements

10   imposed by any federal, state, local, or foreign taxing authorities, and all distributions

11   hereunder shall, to the extent applicable, be subject to any such withholding, reporting,

12   certification, and information requirements. Entities entitled to receive distributions

13   hereunder shall, as a condition to receiving such distributions, provide such information

14   and take such steps as Debtor may reasonably require to ensure compliance with such

15   withholding and reporting requirements, and to enable Debtor to obtain the certifications

16   and information as may be necessary or appropriate to satisfy the provisions of any tax

17   law.

18          10.5.    Section 1146(c) Exemption. Pursuant to Section 1146(c) of the

19   Bankruptcy Code, the issuance, transfer, or exchange of any security under the Plan; or

20   the execution, delivery, or recording of an instrument of transfer pursuant to, in

21   implementation of, or as contemplated by the Plan; or the revesting, transfer, or sale of

22   any real property of Debtor pursuant to, in implementation of, or as contemplated by the

23   Plan; shall not be taxed under any state or local law imposing a stamp tax, transfer tax, or

24   similar tax or fee. Consistent with the foregoing, each recorder of deeds or similar

25   official for any city, county, or governmental unit in which any instrument hereunder is to

26   be recorded shall, pursuant to the Confirmation Order, be ordered and directed to accept

Page 23 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11              Doc 140             Filed 05/22/19     26 of 30
 1   such instrument without requiring the payment of any documentary stamp tax, deed

 2   stamps, transfer tax, intangible tax, or similar tax.

 3           10.6.   Severability. In the event any provision of this Plan is determined to be

 4   unenforceable, such determination shall not limit or affect the enforceability and

 5   operative effect of any other provisions of this Plan. To the extent any provision of this

 6   Plan would, by its inclusion in this Plan, prevent or preclude the Bankruptcy Court from

 7   entering the Confirmation Order, the Bankruptcy Court, on the request of Debtor, may

 8   modify or amend such provision, in whole or in part, as necessary to cure any defect or

 9   remove any impediment to the confirmation of this Plan existing by reason of such

10   provision.

11           10.7.   Binding Effect. The provisions of this Plan shall bind Debtor and all

12   holders of Claims and Equity Interests, and their respective successors, heirs, and assigns.
13           10.8.   Recordable Order. The Confirmation Order shall be deemed to be in
14   recordable form, and shall be accepted by any recording officer for filing and recording
15   purposes without further or additional orders, certifications, or other supporting
16   documents.
17           10.9.   Plan Controls. In the event and to the extent any provisions of this Plan
18   are inconsistent with the provisions of the Disclosure Statement, or any other instrument
19   or agreement contemplated to be executed pursuant to this Plan, the provisions of this

20   Plan shall control and take precedence.

21           10.10. Effectuating Documents and Further Transactions. Debtor shall execute,

22   deliver, file, or record such contracts, instruments, assignments, and other agreements or

23   documents, and take or direct such actions as may be necessary or appropriate to

24   effectuate and further evidence the terms and conditions of this Plan.

25           10.11. Saturday, Sunday, or Legal Holiday. If any payment or act under this

26   Plan is required to be made or performed on a date that is not a business day, then the

Page 24 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19     27 of 30
 1   making of such payment or the performance of such act may be completed on the next

 2   succeeding business day, but shall be deemed to have been completed as of the required

 3   date.

 4            10.12. Timing of Distributions. Notwithstanding anything to the contrary

 5   herein, (a) any distribution required by this Plan to be made on the Effective Date in

 6   respect of a Claim shall be made as soon as practicable after (but in any event within

 7   30 days of) the later of (i) the Effective Date or (ii) the date on which such Claim

 8   becomes Allowed and any other conditions to distribution with respect to such Claim

 9   shall have been satisfied; and (b) any distribution required by this Plan or any instrument

10   issued pursuant to this Plan to be made on a date subsequent to the Effective Date shall

11   be made on the later of (i) such date or (ii) as soon as practicable after (but in any event

12   within 30 days of) the date on which the pertinent Claim becomes Allowed and any other

13   conditions to distribution with respect to such Claim shall have been satisfied.

14            10.13. Final Order. Any requirement in this Plan for a Final Order may be

15   waived by Debtor; provided, however, that nothing contained herein shall prejudice the
16   right of any party-in-interest to seek a stay pending appeal with respect to such Final
17   Order.
18            10.14. Event of Default; Remedy. Except as otherwise provided in this Plan or
19   in the Confirmation Order, in the event Debtor shall default in the performance of its

20   obligations under this Plan, and shall not have cured such default within 10 days after

21   receipt of written notice of default from the Creditor to whom the performance is due,

22   then such Creditor may exercise its remedies on default. An event of default occurring

23   with respect to one Creditor or Claim shall not be an event of default with respect to any

24   other Creditor or Claim.

25            10.15. Amendments to Claims. No Claim may be amended by the holder

26   thereof at any time after the date that is 30 days after the Effective Date (the "Claim

Page 25 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                       Case 19-30223-tmb11               Doc 140             Filed 05/22/19      28 of 30
 1   Amendment Bar Date") other than to reduce the amount of the Claim, unless such period

 2   is extended by Court order on a motion filed with the Court and served on Debtor within

 3   such 30-day period. Objections to any Claim that is timely amended by the holder

 4   thereof after the Effective Date shall be filed no later than 60 days after proof of such

 5   amended Claim is filed with the Court.

 6             10.16. Setoff, Recoupment, and Defenses. Nothing contained in this Plan shall

 7   constitute a waiver or release by Debtor of any rights of setoff or recoupment, or of any

 8   defense it may have with respect to any Claim (including, without limitation, rights under

 9   Section 502(d) of the Bankruptcy Code). Debtor may, but shall not be required to, set off

10   against any Claim and the distributions to be made pursuant to this Plan in respect of such

11   Claim, any claims of any nature whatsoever that Debtor may have against the holder of

12   such Claim, but neither the failure to do so nor the allowance of any Claim hereunder

13   shall constitute a waiver or release of any such claim Debtor may have against such

14   holder.

15             10.17. No Retiree Benefits. Debtor has no retiree benefit plan, fund, or program,

16   as defined in Section 1114 of the Bankruptcy Code, for the purpose of providing or
17   reimbursing payments for retired employees and their spouses and dependents, for
18   medical, surgical, or hospital care benefits, or benefits in the event of sickness, accident,
19   disability, or death under any plan, fund, or program (through the purchase of insurance

20   or otherwise), and no such payments or benefits shall be made by Debtor pursuant to this

21   Plan or otherwise.

22             10.18. Computation of Time Periods. In computing any period of time

23   prescribed or allowed by this Plan, unless otherwise expressly provided herein, the

24   provisions of Bankruptcy Rule 9006(a) shall apply.

25             10.19. Severability. In the event any provision of this Plan is determined to be

26   invalid, void, or unenforceable, the Court may, upon the request of Debtor, alter such

Page 26 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                        Case 19-30223-tmb11              Doc 140             Filed 05/22/19     29 of 30
 1   provision to make it valid or enforceable to the maximum extent practicable, consistent

 2   with the original purpose of the provision held to be invalid, void, or unenforceable, and

 3   such provision shall then be applicable as altered. Notwithstanding any such holding or

 4   alteration, the remainder of the provisions of this Plan shall remain in full force and effect

 5   and shall in no way be affected, impaired, or invalidated by such holding or alteration.

 6           10.20. Exhibits. Any Exhibits to this Plan are incorporated into and are a part of

 7   this Plan as if fully set forth herein.

 8           DATED this 22nd day of May, 2019.

 9                                             WESTERN COMMUNICATIONS, INC.

10

11                                             By /s/ Elizabeth C. McCool
                                                  Elizabeth C. McCool, Chairwoman
12

13   Presented by:
14   TONKON TORP LLP
15

16   By /s/ Michael W. Fletcher
        Albert N. Kennedy, OSB No. 821429
17      Michael W. Fletcher, OSB No. 010448
        Of Attorneys for Debtor
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Page 27 of 27 - DEBTOR’S PLAN OF LIQUIDATION (MAY 22, 2019)

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                        Case 19-30223-tmb11                Doc 140             Filed 05/22/19     30 of 30
                                      LIQUIDATION ANALYSIS

REAL PROPERTY ASSETS:
                                                           Estimated Orderly
                                                                                Estimated Chapter 7
                          Real Property:                       Liquidation
                                                                                    Liquidation
                                                              (listing price)
           1777 SW Chandler Ave., Bend, OR                          $18,000,000        $16,200,000
           1406 5th St., La Grande, OR                                 $625,000           $562,500
           226 N. 6th St., Redmond, OR                                 $315,000           $283,500
           507 Chetco Ave., Brookings, OR                              $577,500           $519,750
           312 H St., Crescent City, CA                                $230,000           $207,000
           205 Timbers Blvd., Smith River, CA                          $319,000           $287,100

           REAL PROPERTY ASSETS TOTAL:                            $20,066,500            $18,059,850

PERSONAL PROPERTY ASSETS:

           Going concern value of newspaper                      $5,000,000 to                  $0.00
           businesses                                              10,000,000

           Liquidation of A/R                                              N/A           $750,000.00


TOTALS:                                                        $20,000,000 to           $18,809,850
                                                                 $30,000,000

It is unlikely that any unsecured claim will receive any distribution in the event of a Chapter 7
liquidation.




                                                                                                    EXHIBIT 2
                                                                                                    Page 1 of 1
                    Case 19-30223-tmb11            Doc 140      Filed 05/22/19
                                    CERTIFICATE OF SERVICE
 1
                     I hereby certify that I served the foregoing DEBTOR'S DISCLOSURE
 2   STATEMENT (MAY 22, 2019) on the parties indicated as "ECF" on the attached List of
     Interested Parties by electronic means through the Court's Case Management/Electronic Case
 3   File system on the date set forth below.
 4                  In addition, I served the foregoing on the parties indicated as "Non-ECF" on
     the attached List of Interested Parties by mailing copies thereof in sealed, first-class postage
 5   prepaid envelopes, addressed to the parties' last-known address and depositing in the
     U.S. mail at Portland, Oregon on the date set forth below.
 6
                       DATED this 22nd day of May, 2019.
 7
                                                       TONKON TORP LLP
 8

 9
                                                       By /s/ Michael W. Fletcher
10                                                        Albert N. Kennedy, OSB NO. 821429
                                                          Michael W. Fletcher, OSB No. 010448
11                                                        Attorneys for Debtor
12   000646/00045/9987525v5

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Page 1 of 1 - CERTIFICATE OF SERVICE

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                          Case 19-30223-tmb11          Doc 140               Filed 05/22/19
                                       LIST OF INTERESTED PARTIES

                                        In re Western Communications, Inc.
                                 U.S. Bankruptcy Court Case No. 19-30223-tmb11

                                              ECF PARTICIPANTS
   JONAS V ANDERSON jonas.v.anderson@usdoj.gov
   MICHAEL W FLETCHER michael.fletcher@tonkon.com, leslie.hurd@tonkon.com;spencer.fisher@tonkon.com
   SARAH FLYNN sarah.flynn@usdoj.gov
   ALBERT N KENNEDY al.kennedy@tonkon.com, leslie.hurd@tonkon.com;spencer.fisher@tonkon.com
   KATHYRN PERKINS kathryn.e.perkins@usdoj.gov
   CRAIG G RUSSILLO crussillo@schwabe.com
   BRAD T SUMMERS summerst@lanepowell.com, docketing-pdx@lanepowell.com
   US TRUSTEE, PORTLAND USTPRegion18.PL.ECF@usdoj.gov

                                          NON-ECF PARTICIPANTS
TOP 20 UNSECURED CREDITORS              Newscycle Solutions Inc.                  Curry County Tax Collector
                                        POB 851306                                POB 1568
Advantage Newspaper Consultants         Minneapolis, MN 55485-1306                Medford, OR 97501
501-B Executive Place
Fayetteville, NC 28305                  Oregon Web Press Inc.                     Del Norte County Tax Collector
                                        263 29th Ave., SW                         981 H St., #150
Bank of America                         Albany, OR 97322                          Crescent City, CA 95531
800 Fifth Ave.
Seattle, WA 98104                       Pacific Power Inc                         Deschutes County Tax Collector
                                        POB 26000                                 POB 7559
Carter & Associates                     Portland, OR 97256                        1300 NW Wall St., #200
POB 21444                                                                         Bend, OR 97701
El Cajon, CA 92021                      Page Cooperative Inc.
                                        700 American Ave., #101                   Tuolumne County Tax Collector
Century Washington Center Inc           King of Prussia, PA 19406                 POB 3248
POB 700                                                                           Sonora, CA 95370-3248
Bend, OR 97709                          Sacramento Bee
                                        c/o Paul J. Pascuzzi                      Union County Assessor/Tax Collector
Davis Wright Tremaine LLP               Felderstein Fitzgerald                    1001 4th St., Suites A & B
c/o Joseph VanLeuven                     Willoughby & Pascuzzi LLP                La Grande, OR 97850
1300 SW Fifth Ave., #2400               400 Capitol Mall, #1750
Portland, OR 97201                      Sacramento, CA 95814                      Yazoo County Tax Collector
                                                                                  POB 108
Eastman Kodak Company Inc.              Southern Lithoplate Inc.                  Yazoo City, MS 39194
343 State St.                           POB 741887
Rochester, NY 14650                     Atlanta, GA 30374                         OTHER
First Interstate Bank                   Sun Chemical Inc                          Andrews McMeel Universal
805 NW Bond St.                         POB 2193                                  Andrews McMeelsynd/
Bend, OR 97703                          Carol Stream, IL 60132-2193                Universal Uclick
                                                                                  POB 843345
Grove Mueller Swank PC                  United Way of Deschutes County            Kansas City, MO 64184-3345
POB 2122                                POB 5969
Salem, OR 97308-2122                    Bend, OR 97708
Harrigan Price Fronk & Co. LLP          UCC PARTIES
2796 NW Clearwater Dr.
Bend, OR 97703-7008                     Hitachi Capital America Corp.
                                        7808 Creekridge Circle, #250
Homeland Fireworks Inc                  Edina, MN 55439
POB 7
Jamieson, OR 97097                      Imaging Financial Services, Inc.
                                        POB 35701
Journal Graphics Inc                    Billings, MT 59107
2840 NW 35th Ave.
Portland, OR 97210                      PROPERTY TAXES
Karnopp Petersen LLP                    Baker County Tax Collector
350 SW Bond St., #400                   1995 3rd St., #140
Bend, OR 97702                          Baker City, OR 97814



                             Case 19-30223-tmb11           Doc 140         Filed 05/22/19
